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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW HAMPSHIRE

United States of America            )
                                    )
            v.                      )                          No. 1:21-cr-155-PB-01
                                    )
Aldo Persichilli                    )
______________________________________

                                       Indictment

The Grand Jury charges:

                                     COUNT ONE
         [18 U.S.C. § 472 – Possession of Counterfeit Obligations or Securities]

       On or about January 8, 2020, in the District of New Hampshire, the defendant,

                                     Aldo Persichilli,

with intent to defraud, did keep in possession counterfeited obligations and other

securities of the United States, namely, twenty-three counterfeited $100 Federal Reserve

Notes bearing the serial numbers below, which he then knew to be falsely made, forged

and counterfeited.

 A880733C              C64777322A                L36086240C             E61885519B
 A34587337B            A54761746C                L51983767D             E22425840C
 A66330340B            L11884306E                L13600862E             E22445647D
 D56424173B            L73485887C                E93478112F             L54282216C
 C58625376G            L61125138A                E07438174B             A55101625C
 C03583480D            L61884663A                E08089801B

       All in violation of Title 18, United States Code, Section 472.




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                                     COUNT TWO
            [18 U.S.C. § 474(a) - Possession of Digital and Electronic Images
                     for Counterfeiting Obligations and Securities]

       On or about January 8, 2020, in the District of New Hampshire, the defendant,

                                      Aldo Persichilli,

unlawfully and with intent to defraud, did have in in his control, custody, and possession,

digital and electronic images of an obligation or other security of the United States,

namely, blank U.S. currency templates; U.S. currency serial numbers; U.S. currency

Federal Reserve Bank seals; U.S. currency numerical values; U.S. currency numerical

value microprints; and U.S. currency watermarks.

       All in violation of Title 18, United States Code, Section 474(a).



                                    Notice of Forfeiture

       On conviction on Count One or Two of this Indictment, the defendant,

                                      Aldo Persichilli,

shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(2)(B), any property

constituting, or derived from, proceeds obtained, directly or indirectly, as a result of the

charged offense.

       Pursuant to Title 18, United States Code, Section 492 and 28 U.S.C. § 2461, the

defendant shall forfeit all counterfeits of any coins or obligations or other securities of the

United States or of any foreign government, or any articles, devices, and other things

made, possessed, or used in violation of Title 18, United States Code, Sections 472 or


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474, or any material or apparatus used or fitted or intended to be used, in the making of

such counterfeits, articles, devices or things, found in the possession of any person

without authority from the Secretary of the Treasury or other proper officer. The

property to be forfeited includes, but is not limited to:

       a. HP ProBook (6470b) Laptop, S/N: CNU339CHJY; and

       b. Xerox Phaser 6700 Printer seized from 10 Wall Street, Concord, on January 8,

           2020.

       c. 23 counterfeited $100 Federal Reserve Notes bearing the serial numbers listed

           in the table in Count One.

       Pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title

18, United States Code, Section 982(b), the defendant shall forfeit substitute property, up

to the value of the assets, if, by any act or omission of the defendant, the property

described in these allegations, or any portion thereof, cannot be located upon the exercise

of due diligence; has been transferred, sold to or deposited with a third party; has been

placed beyond the jurisdiction of the court; has been substantially diminished in value; or

has been commingled with other property which cannot be divided without difficulty.

                                                   A TRUE BILL

                                                   /s/ Grand Jury Foreperson
Date: September 13, 2021                           Grand Jury Foreperson

JOHN J. FARLEY
Acting United States Attorney
/s/ Anna Dronzek
Anna Dronzek
Assistant United States Attorney

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